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United States

 

 

 

 

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AO 91 (Rev. 11/11) Criminal Complaint Southern District of 7, ourt
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UNITED STATES DISTRICT COURT ger 44 999)
for the
Southern District of Texas Nathan Ochsner, Clerk
United States of America )
V. ) ov 17 o- -
Lauro GONZALEZ Jr., YOB: 1997 (USA) CaseNo, Wad | M
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)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 10/13/2021 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 841(a)(1) Possession with Intent to Distribute Methamphetamine, approximately 252

grams, a schedule Ii controlled substance.

This criminal complaint is based on these facts:

See Attachment 1

& Continued on the attached sheet.

/s/ Joaquin D. Mendoza

 

Complainant’s signature

Complaint authorized by AUSA P. Warmer Joaquin D. Mendoza, DEA Task Force Officer

 

7 : . Printed name and title
Submitted by reliable electronic means, sworn to and

attested telephonically per Fed. R. Cr. P. 41.1, and

probable cause found on
Date: 10/14/2021 4:43 PM py
Judge’s signature

City and state: McAllen, Texas ; Nadia S. Medrano, U.S. Magistrate Judge

 

Printed name and title
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Attachment 1

On October 13, 2021, Officers of the Edinburg Police Department received a call for service
regarding a hit and run accident, at the 1300 Block of East lowa St. Edinburg, Hidalgo County,
Texas, involving a blue BMW passenger car (TX-NSL7506}, that had crashed into another vehicle
and left the scene.

An off-duty Texas Department of Public Safety (DPS) Trooper witnessed the accident and
observed that the driver, and sole occupant of the BMW, exited the BMW and commenced to
flee on foot. The DPS Trooper gave chase and observed that the Hispanic male, dropped a
plastic bag that contained a substance that appeared to be marijuana as he fled on foot.

The driver of the BMW was detained by the off-duty DPS after a short chase. The driver of the

BMW was identified as Lauro GONZALEZ Jr. (hereafter GONZALEZ).

A search of GONZALEZ’s BMW revealed two plastic bags containing a total of 252.92 grams of
methamphetamine, a plastic baggie with a small quantity of a white powdery substance
GONZALEZ identified as fentanyl, one plastic bag containing marijuana, which in conjunction
with the bag of marijuana GONZALEZ dropped as he ran away, had a total weight of 3.8 ounces,
two plastic bags containing a total of 433.75 grams of psilocybin mushrooms. The drugs were
located on the front passenger seat of the vehicle.

The narcotics found as a result of GONZALEZ’s arrest were tested in their respective narcotics
reagent test kits (for the suspected controlled substances) and revealed positive results for the
above listed substances, with the exception of the suspected fentanyl, which has not been
tested due to safety considerations.

In addition to the narcotics, officers located a loaded black Canic TP9 Elite-Combat 9 millimeter
semiautomatic pistol, a blue digital weight scale and a bag with an undetermined amount US
currency of different denominations also in the front passenger seat area of the vehicle.

A post Miranda interview was conducted with GONZALEZ at the Edinburg Police Department, in
which GONZALEZ claimed ownership and responsibility of the narcotics found in his vehicle, and
admitted to selling narcotics, and having access to kilogram quantities of methamphetamine.
GONZALEZ also stated that the he had purchased the handgun found in his vehicle recently, and
stated he always carry a handgun with him for protection. GONZALEZ went on to state that if he
was to be chased by police and it appeared as though he could not get away from the officers,
he would probably shoot at the officers in an attempt to get away.
